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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


ENTERTAINMENT ONE UK LTD.,

       Plaintiff,
                                                    Case No.: 18-cv-00737
v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

       Defendants.


 PLAINTIFF’S EX PARTE MOTION FOR ENTRY OF A TEMPORARY RESTRAINING
  ORDER, INCLUDING A TEMPORARY INJUNCTION, A TEMPORARY TRANSFER
   OF THE DEFENDANT DOMAIN NAMES, A TEMPORARY ASSET RESTRAINT,
    EXPEDITED DISCOVERY, AND SERVICE OF PROCESS BY EMAIL AND/OR
                       ELECTRONIC PUBLICATION

        Plaintiff ENTERTAINMENT ONE UK LTD., (“eOne” or “Plaintiff”), seeks entry of an

 ex parte temporary restraining order, including a temporary injunction against Defendants

 enjoining the manufacture, importation, distribution, offering for sale, and sale of Counterfeit PJ

 MASKS products, a temporary transfer of the Defendant Domain Names, a temporary asset

 restraint, expedited discovery, and service of process by email and/or electronic publication in an

 action arising out of 15 U.S.C. § 1114; Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a);

 and the Illinois Uniform Deceptive Trade Practices Act, 815 ILCS § 510. A Memorandum of

 Law in Support is filed concurrently with this Motion.
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DATED: January 31, 2018                      Respectfully submitted,

                                                     /s/ Meghan Nugent
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                                                     ATTORNEY FOR PLAINTIFF
                                                     ENTERTAINMENT ONE UK, LTD.




                                CERTIFICATE OF SERVICE

       I, the undersigned attorney, certify that I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system on January 31, 2018.


                                                     /s/ Meghan Nugent
                                                     Meghan Nugent




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